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UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF LOUISIANA

Propria Persona

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Status: Sovereign

 

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The King/Moroceo EASTERN 8 OS RICT OF LOUISIANA
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(Plaintiff)
‘ EB OF 2018
Versus FILE FEB o
BANNER CHEVROLET WILLIAM W. BLEVINS
CLERK
(DEFENDANT)

CIVIL ACTION NO. 2:18-cv-08952 J QL

Opposition to “BANNER OF N.O., LLC’S 12(B) (6) MOTION TO DISMISS”

“Motion to Supplement the Record”
1)

“BANNER OF N.O LLC” (inter-alia) set forth actionable fraud in participation and
communication of false and deceitful information with the plaintiff's previous employer “PREMIER
AUTOMOTIVE” (inter-alia); these wrongful acts by “BANNER OF N.O LLC” (inter-alia) and
“PREMIER AUTOMOTIVE?” (inter-alia) inflicted the damages and defamation of the plaintiff's
reputation. “BANNER OF N.O LLC” treated the plaintiff like a criminal; “BANNER OF N.O LLC”
imposed unfair, unjust, and unconstitutional treatment on the plaintiff. “BANNER OF N.O LLC” has
intent to further destroy the reputation of the plaintiff, “BANNER OF N.O LLC” discriminated against
the plaintiff by pressuring the plaintiff to shave his beard, the defendant wrongfully terminated the
plaintiff because of the plaintiff’s nationality, imposing further damages and pain and suffering on the
plaintiff. “BANNER OF N.O LLC’s” concerted action in the conspiracy is the participation of the agenda
with “PREMIER AUTOMOTIVE”; the agenda consists of the suppression, unlawful, unconstitutional
treatment of the Indigenous, Aboriginal, and Sovereign Humans. The plaintiff is Aboriginal, Indigenous,
and Sovereign. The plaintiff's lawful rights are protected; “BANNER OF N.O LLC” has violated the
rights of the plaintiff, and the plaintiff respectfully moves the UNITED STATES DISTRICT COURT,
EASTERN DISTRICT OF LOUISISANA to grant the relief of $3,000,000 in certified gold bars to the
plaintiff. I demand and request the UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF
LOUISIANA a jury. of my peers. The plaintiff’s nationality is Moor.

2)

The Treaty of Tripoli is the contract between the Moors and the “UNITED STATES
CORPORATION?” (inter-alia); it is the longest ongoing contract that has never been broken. The red,
white, and blue striped flag represents “Peace and Friendship”, the “Amity and Commerce” between the
Moors and the “UNITED STATES CORPORATION” (inter-alia) I am Aboriginal. I am Indigenous. My
nationality is Moor. I am King. I am The King/Morocco. .

 

 

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Case 2:18-cv-08952-CJB-JCW Document 16 Filed 02/05/19 Page 2 of 4

I enforce and exercise my lawful rights that are protected by the Treaty of Tripoli, United
Nations Declaration on the Rights of Indigenous People, Charter of the United Nations, Universal
Declaration of Human Rights, Zodiac Constitution, International Human Rights Law, Morocco
Constitution, and Louisiana Constitution Article 1 subsection 26. I enforce and exercise Title 7 of the
Civil Rights act. Title 7 of the Civil Rights Act has been violated by “BANNER OF N.O LLC”.

The King Morocco, Sui Juris

6700 Woodland Parkway Suite#230 P.O Box#411
The Woodlands, TX 77382

Phone: (832)734-3658

Email: simmsenterpriseO@gmail.com
Judge:

Dated:

JUDGE: CARL J. BARBER

MAGISTRATE JUDGE: JOSEPH C. WILKINSON JR.

CIVIL ACTION NO. 2:18-cv-08952

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UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF LOUISIANA
Status: Sovereign Propria Persona
The King Morocco (Plaintiff)
VERSUS
BANNER CHEVROLET (inter-alia) (DEFENDANT)
Civil Action: 2:18-CV-08952
Judge: Carl J. Barbier

Magistrate Judge: Joseph C. Wilkinson Jr.
Memorandum in Support of “Opposition to BANNER OF N.O LLC’S 12(B)(6) MOTION TO DISMISS”

“BANNER OF N.O LLC” (inter-alia) has violated the rights of the plaintiff The King/Morocco.
“BANNER OF N.O LLC” (inter-alia) has participated in Fraud, Negligence, Conspiracy, Discrimination,
Genocide, and wrongful termination. “BANNER OF N.O LLC” (inter-alia) has imposed damages,
assumed damages, actual damages, and pain and suffering on the plaintiff. The plaintiff moves the
UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF LOUISIANA to grant the relief to
the plaintiff for damages inflicted by “BANNER OF N.O LLC” (inter-alia). The plaintiff demands and
requests the relief of $3,000,000 in certified gold bars with the “Motion of Bill to Bring Suit to Banner of
N.O LLC, Motion to Supplement the Record.

The King Morocco, Sui Juris

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The Woodlands, TX 77382

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FEB 05 2019

U.S. DISTRICT COURT
Eastern District of Louisiana
Deputy Clerk
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